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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 20-CV-81205-RAR

   SECURITIES AND EXCHANGE COMMISSION,

                                  Plaintiff,

   v.

   COMPLETE BUSINESS SOLUTIONS GROUP,
     INC. d/b/a/ PAR FUNDING, et al.,

                           Defendants.
   ____________________________________________/

          JOINT STATUS REPORT REGARDING SETTLEMENT NEGOTIATIONS

          On September 14, 2022, the Court conducted a hearing on Plaintiff’s Omnibus Motion for
   Final Judgment Against Defendants Furman, Barleta, LaForte and McElhone (the "Omnibus
   Motion"). At the conclusion of that hearing, the Court advised the parties that it would reserve
   ruling on the Omnibus Motion to provide them with additional time to discuss potential
   settlements, and that the parties should file a Joint Status Report with an update on their settlement
   negotiations on or before September 23, 2022. See also Paperless Order, ECF No. 1414).
          Since the September 14 hearing, counsel for the parties have engaged in earnest settlement
   discussions, involving numerous settlement conferences conducted virtually and by phone. The
   parties were not able to reach a settlement. Mr. Zachary Hyman, on behalf of Defendant Michael
   Furman, and Andre Raikhelson, on behalf of Cole, agree to this filing.
          September 23, 2022              Respectfully submitted,
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